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            Woodhull Freedom Foundation; Human Rights Watch;
            Eric Koszyk; Jesse Maley, a/k/a Alex Andrews; The Internet Archive



                                                                                            1:18-cv-1552


               United States of America and
               Merrick Garland, Attorney General of the United States




                                     25              April                   22
Woodhull Freedom Foundation; Human Rights Watch;
Eric Koszyk; Jesse Maley, a/k/a Alex Andrews; The Internet Archive




                                                    29               March                22

            United States of America and
            Merrick Garland, Attorney General of the United States

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                                                                   Robert Corn-Revere

                                                                   Davis Wright Tremaine, LLP


                                                                   1301 K Street, NW, Suite 500-East


                                                                   Washington, D.C. 20005-4200


                                                             202       973-4200
